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                           NO. 22-10509-J


        IN THE UNITED STATES COURT OF APPEALS
               FOR THE ELEVENTH CIRCUIT


                UNITED STATES OF AMERICA,
                            Appellee,

                                  v.

                        LAWRENCE CURTIN,
                               Appellant.


       On Appeal from the United States District Court
            for the Southern District of Florida


             INITIAL BRIEF OF THE APPELLANT
                    LAWRENCE CURTIN


                              MICHAEL CARUSO
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         THIS CASE IS ENTITLED TO PREFERENCE
                  (CRIMINAL APPEAL)
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          CERTIFICATE OF INTERESTED PERSONS
         AND CORPORATE DISCLOSURE STATEMENT

                  United States v. Lawrence Curtin
                        Case No. 22-10509-J

     Appellant, Mr. Lawrence Curtin, files this Certificate of Interested

Persons and Corporate Disclosure Statement, listing the parties and

entities interested in this appeal, as required by 11th Cir. R. 26.1.

     Altonaga, Hon. Cecilia M., United States District Judge

     Bharathi, Sowmya, Assistant Federal Public Defender

     Caruso, Michael, Federal Public Defender

     Curtin, Lawrence, Appellant

     Gonzalez, Juan A., United States Attorney

     Jayanthi, Srilekha, Assistant Federal Public Defender

     Jung, Hon. William F., United States District Judge

     Lopez, Alejandra Lizzette, Assistant United States Attorney

     Lopez, Bernardo, Assistant Federal Public Defender

     Louis, Hon. Lauren Fleischer, United States Magistrate Judge

     Otazo-Reyes, Hon. Alicia M., United States Magistrate Judge

     Rosenzweig, Assistant United States Attorney




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    Rubio, Lisa Tobin, Chief, Appellate Division, United States

         Attorney’s Office

    United States of America, Plaintiff/Appellee



                                       s/Bernardo Lopez
                                       Bernardo Lopez




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         STATEMENT REGARDING ORAL ARGUMENT

     This appeal raises substantial and important issues regarding

whether a 78 year-old physically and mentally infirmed frequent litigant

made an actual threat to a magistrate judge in objections to that

magistrate judge’s report and recommendation that his civil suit be

dismissed; whether a district court judge should sua sponte recuse the

court where the government has charged a defendant with making a

threat of death against a judge of that Court; whether criminal charges

against an accused should be dismissed for a violation of due process

where the Attorney General has failed to evaluate and treat an individual

initially found to be incompetent to stand trial within the mandatory time

period mandated by Congress; and whether a district court should reduce

an offense level by four levels where a threat lacked any deliberation.

Accordingly, appellant respectfully submits that oral argument is

necessary to the just resolution of this appeal and will significantly

enhance the decision making process.




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               STATEMENT OF SUBJECT MATTER
                AND APPELLATE JURISDICTION

     The district court had jurisdiction of this case pursuant to 18 U.S.C.

§ 3231 because the defendant was charged with an offense against the

laws of the United States. The court of appeals has jurisdiction over this

appeal pursuant to 28 U.S.C. § 1291 and 18 U.S.C. § 3742, which give the

courts of appeals jurisdiction over all final decisions and sentences of the

district courts of the United States. The appeal was timely filed on

February 16, 2022, from the final judgment and commitment order

entered on February 15, 2022, that disposes of all claims between the

parties to this cause.




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                   STATEMENT OF THE ISSUES

  I.    Whether the Government failed to prove beyond a

        reasonable doubt that Mr. Curtin intended to issue

        a real threat against Judge Maynard or that Mr.

        Curtin knew that his communications would be

        viewed as a threat by Judge Maynard?

  II.   Whether the district court erred when it denied Mr.

        Curtin’s   motion     to   dismiss      the     superseding

        indictment where Mr. Curtin was detained for

        evaluation and treatment by the Attorney General

        beyond the term of hospitalization authorized by

        statute?

  III. Whether the District Court for the Southern District

        of Florida erred as a matter of law when it failed to

        sua sponte recuse itself from deciding any material

        issues in Mr. Curtin’s prosecution for threatening a

        Southern District of Florida federal magistrate

        judge where the District Court for the Southern

        District of Florida decided substantive issues such



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        as bond, competency and motions to dismiss the

        indictment against Mr. Curtin while Mr. Curtin

        remained imprisoned for almost a year before the

        prosecution was transferred to the Middle District

        of Florida?

  IV.   Whether the district court imposed a procedurally

        unreasonable sentence when it failed to reduce the

        offense level by four levels pursuant to U.S.S.G.

        2A6.1(b)(6) where Mr. Curtin’s offense involved a

        single instance involving little or no deliberation?

  V.    Whether the district court imposed a substantively

        unreasonable sentence on Mr. Curtin when it

        imposed a sentence of sixty months’ imprisonment

        which was the result of a substantial upward

        variance from the advisory sentencing range where

        neither the nature of offense nor the individual

        characteristics of Mr. Curtin warranted an upward

        departure and where the district court improperly

        focused on prior bad acts that were more than a



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       decade old and were never prosecuted while

       ignoring Mr. Curtin’s personal characteristics as a

       78 year-old first time offender with substantial

       physical and mental health issues?




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                        STATEMENT OF THE CASE

     The appellant, Mr. Lawrence F. Curtin, was the defendant in the

district court and will be referred to by name. The appellee, United

States of America, will be referred to as the government. The record will

be noted by reference to the volume number, document number, and page

number of the Record on Appeal as prescribed by the rules of this Court.

     The Appellant, Mr. Curtin, is currently incarcerated serving a

sixty-month term of imprisonment.

        COURSE OF PROCEEDINGS AND DISPOSITION
                IN THE DISTRICT COURT

     A federal grand jury in the Southern District of Florida charged Mr.

Lawrence Curtin, in a two-count superseding indictment, with one count

of mailing a threatening communication in violation of 18 U.S.C. § 876(c)

(count one) and one count of threatening to assault and murder a United

States judge in violation of 18 U.S.C. § 115(a)(1)(B) (count two). (DE 65).

The charges accused Mr. Curtin of threatening a Federal Magistrate

Judge from the Southern District of Florida. Following treatment at a

Federal Bureau of Prisons medical facility, Mr. Curtin was eventually

deemed competent to stand trial. His case was subsequently transferred

to a judge in the Middle District of Florida. Following a jury trial, Mr.


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Curtin was convicted on both counts. The district court sentenced Mr.

Curtin to a 60-month term of imprisonment.

                        STATEMENT OF FACTS

     Mr. Lawrence F. Curtin is a seventy-nine year-old native of

Cambridge, Massachusetts. Presentence Report (“PSR”) at ¶ 41. Mr.

Curtin suffers from a host of medical conditions. Specifically, Mr. Curtin

suffers from hypertension, heart disease, Type 2 diabetes, an umbilical

hernia, and Mr. Curtin has a defibrillator surgically implanted. PSR ¶

55. Mr. Curtin also suffers from Cancer having been diagnosed with

carcinoma cells on various parts of his body. Id. Mr. Curtin’s left hand

has been rendered useless and is permanently stuck in a claw like

position. Id. In addition, Mr. Curtin suffers from mental health issues.

Mr. Curtin has been diagnosed with Schizophrenia and other psychotic

disorders. PSR ¶ 56. In fact, in the presentence report, the probation

officer highlighted the fact that Mr. Curtin’s “untreated mental health

diagnosis” provided a factor that might warrant a sentence below the

advisory sentencing range. PSR ¶ 84.

     Mr. Curtin was injured in a traffic accident on September 7, 2012,

when he swerved to avoid hitting a truck that had just entered interstate



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95 from a construction site. 1 In October 2013, Mr. Curtin filed a civil suit

against the truck owner and others seeking compensation for his

personal injuries. St. Lucie County Circuit Judge Janet Croom presided

over the case.       On April 12, 2026, Judge Croom entered summary

judgment against Mr. Curtin. That decision was affirmed on appeal in

state court. Mr. Curtin also filed two civil law suits in federal court, nos.

16-cv-14427 and 17-cv-14403, challenging that state civil case.

     Mr. Curtin also complained to the Governor of Florida and to the

Florida Judicial Qualification Committee (“JQC”) regarding Judge

Croom’s handling of his civil suit. In a letter to the JQC dated June 23,

2018, Mr. Curtin complained about the serious injuries he and his wife

sustained, and he claimed that Judge Croom’s rulings violated his

constitutional rights. Mr. Curtain also cited Biblical law of an “eye for

an eye” and vowed to “stop Croom.” The JQC viewed that statement as

a threat against Judge Croom and referred Mr. Curtin for prosecution by

state authorities.



1
  The background facts preceding the prosecution in the underlying
criminal case are taken from the report and recommendation filed by
Magistrate Maynard (DE 13) in Mr. Curtin’s federal civil suit, 20-cv-
14128-JEM.

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     Mr. Curtin was in fact prosecuted in state court for threating Judge

Croom. However, the state court eventually found that Mr. Curtin was

not competent to stand trial and the state court dismissed the charges

against Mr. Curtin.

     Mr. Curtin filed another civil suit in federal court challenging the

state court decisions, Curtin v. Florida State Court System, 20-cv-14128-

JEM/Maynard (S.D.Fla. 2020). This time, Mr., Curtin added the whole

of the state judiciary and claimed that the actions of the judiciary were

tantamount to an organized crime conspiracy. Mr. Curtin represented

himself in this lawsuit and was considered a pro se litigant. Mr. Curtin

had filed a handful of previous federal lawsuits, all of them as a pro se

litigant. Because Mr. Curtin resides in Fort Pierce, Florida, his federal

legal filings are sent to the Fort Pierce division of the Southern District

of Florida. There is only one federal magistrate judge in the Fort Pierce

division, and so all of Mr. Curtin’s legal filings in federal court went to

that single magistrate judge, Judge Maynard. And in all of Mr. Curtin’s

previous federal cases, that single magistrate judge had recommended

that the lawsuit be dismissed and that recommendation had been

adopted by the district court judge assigned to the case. Similarly, in



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case 20-cv-14128, the case was referred to that same magistrate judge,

Judge Maynard, and Judge Maynard issued a report recommending that

the current civil case field by Mr. Curtin be likewise dismissed. Curtin

v. Florida State Court System, 20-cv-14128-JEM/Maynard (S.D.Fla.

2020), (DE 13).

      As required by local rules, Mr. Curtin filed objections to the

Magistrate Judge’s report and recommendation. Curtin v. Florida State

Court System, 20-cv-14128-JEM/Maynard (S.D.Fla. 2020), (DE 14),

(Gov’t. Exh. 1). The contents of those objections form the basis for the

underlying criminal prosecution.        Mr. Curtin attempted to file the

objections in person at the clerk’s office in the Fort Pierce federal

courthouse, but was unable and subsequently mailed the objections to

the clerk’s office.

      In the objections to the Magistrate Judge’s Report and

Recommendation, Mr. Curtin objected to the case law cited by the

Magistrate Judge arguing that his claim is RICO and Honest Services

Fraud and that those cases do not apply to his law suit. Curtin v. Florida

State Court System, 20-cv-14128-JEM/Maynard (S.D.Fla. 2020), (DE 14),

(Gov’t. Exh. 1). Mr. Curtin also objected to application of the abstention



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doctrine since his state prosecution had been dismissed and he denies

trying to have the federal court act as a super appellate state court. Mr.

Curtin then turns his attention to the underlying basis for his state

criminal case – the threat against Judge Croom:

     WHERE IN MY JUNE 23, 2018 LETTER DO I THREATEN
     DEATH OR BODILY HARM TO CROOM? NO WHERE!

     MY JUNE 23, 2018 LETTER AS YOU WILL NOTE IS
     ADDDRESSED TO THE JUDICIAL QUALIFICATIONS
     COMMISSION (JQC). YOU DO NOT ADDRESS A LETTER
     TO THE JQC TO THREATEN A JUDGES PERSON. YOU
     ADDRESS IT TO THE JQC TO THREATEN A JUDGES
     POSITION. MAYNARD IS UNABLE TO UNDERSTAND
     THIS.

     I ALSO NAMED MAYNARD AS AN ADDIER AND
     ABETTER [sic].   MAYNARD KNEW ABOUT THE
     DEFENDANT’S REFUSING MY HEART MEDICATION IN
     AN EFFORT TO KILL ME YET SHE COVERED IT UP.

           https://www.youtube.com/watch?v=a2vUNuX5Hgl

     IT IS OBVIOUS FROM THE TOTALITY OF WORDS IN THE
     SONG INCLUDING ITS TITLE I AM THREATENING
     MAYNARD WITH DEATH AND BODILY HARM. ALSO BY
     HOLDING ONTO THE HAND OF THE PREACHER OF
     COLOR THAT I AM THREATENING MAYNARD WHO IS A
     WOMAN OF COLOR WITH DEATH.

              “WITH LIBERTY AND JUSTICE FOR ALL”

(20-cv-14128:DE 14). Mr. Curtin then dated and signed the objections

and noted his full name, address and social security number.


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     Magistrate Judge Maynard alerted the United States Marshal

Service regarding the filing as a threat. Subsequently, a federal grand

jury in the Southern District of Florida charged Mr. Lawrence Curtin, in

a two-count superseding indictment, with one count of mailing a

threatening communication in violation of 18 U.S.C. § 876(c) (count one)

and one count of threatening to assault and murder a United States judge

in violation of 18 U.S.C. § 115(a)(1)(B) (count two). (DE 65). The charges

accused Mr. Curtin of threatening a Federal Magistrate Judge from the

Southern District of Florida.    Despite the nature of the charges, the

prosecution against Mr. Curtin remained in the Southern District of

Florida.

     Following Mr. Curtin’s arrest, a Magistrate Judge in the Southern

District of Florida ordered that Mr. Curtin be detained pre-trial on

August 31, 2020. (DE 5,6). At the detention hearing, issues regarding

Mr. Curtin’s competency arose. Id. On September 14, 2020, the parties

filed a joint motion for a competency evaluation. (DE 8). While detained,

Mr. Curtin contracted Covid 19. Due to his age and his physical and

mental health issues, counsel for Mr. Curtin filed a renewed motion for




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bond. (DE 14). The same Magistrate Judge from the Southern District

of Florida denied the motion for bond. (DE 18).

     On November 24, 2020, the same Magistrate Judge from the

Southern District of Florida found Mr. Curtin incompetent to stand trial

and ordered Mr. Curtin committed to the custody of the Attorney General

pursuant to 18 U.S.C. § 4241(d). (DE 24). However, it was not until four

months later, March 22, 2021, that Mr. Curtin was actually transferred

to a medical facility, FMC Devens, for treatment as ordered.

     On July 23, 2021, four months after Mr. Curtin had been finally

transferred to a medical facility for treatment, and eight months after he

had been committed to the custody of the Attorney General for treatment

via a judicial order, counsel for Mr. Curtin filed a motion to dismiss the

charges against Mr. Curtin based on the fact that he had been detained

beyond the statutory four-month limit expressly provided by section

4241(d). (DE 75). On August 6, 2021, a district judge from the Southern

District of Florida denied the motion to dismiss and ordered Mr. Curtin’s

return to the Federal Detention Center in Miami. (DE 79).

     In fact, Mr. Curtin was not returned to Miami forthwith as ordered

by the Court. On September 14, 2021, the district court held a status



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conference on Mr. Curtin’s competency. (DE 90, 241). Mr. Curtin was

not brought to court that day because of a medical issue. However,

counsel for the government noted that she had not received the report

regarding Mr. Curtin’s competency until the day before, September 13,

2021, and had forwarded a copy of the report to counsel for Mr. Curtin.

Thus, nearly six months after Mr. Curtin had been finally transferred to

a medical facility for treatment, nearly ten months after he had been

committed to the custody of the Attorney General for treatment via a

judicial order, and nearly two months since he was ordered to be returned

to the Southern District of Florida forthwith, Mr. Curtin was returned to

the Southern District of Florida and counsel for Mr. Curtin and the

government were finally provided with the medical report regarding Mr.

Curtin’s competency. (DE 243).

     At the status conference, the parties acknowledged that Mr. Curtin

was now competent to stand trial and counsel for Mr. Curtin informed

the Court that Mr. Curtin would proceed to trial represented by counsel.

(DE 243). Counsel for the government notified the court that Magistrate

Judge Maynard would be testifying at the trial. There was then a request




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that the Court should recuse itself. (DE 95). The case was transferred

to the Middle District of Florida. (DE 97).

     Following a jury trial in the Middle District of Florida, Mr. Curtin

was convicted on both counts of the indictment.            (DE 197). Prior to

sentencing, the government filed objections to the presentence report in

which they included materials from the United States Marshals Service.

(DE 206). Specifically, the government referenced a March 10, 2005,

letter from Mr. Curtin to a district judge in the Eastern District of

Louisiana, an April 22, 2005 letter from Mr. Curtin to two district judges

in the Southern District of Florida, and a December 18, 2007 letter from

Mr. Curtin to one of those district judges in the Southern District of

Florida. Id.   Counsel for Mr. Curtin also filed objections arguing that

the offense level should be reduced by four levels pursuant to U.S.S.G. §

2A6.1(b)(6), the offense involved a single instance evidencing little or no

deliberation. (DE 207).

     At sentencing, the district court denied Mr. Curtin’s objections and

adopted the presentence report calculation of a final offense level of 18

and criminal history of I based on zero criminal history points. That

yielded an advisory range of 27-33 months. Counsel for Mr. Curtin



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argued that Mr. Curtin’s age, his physical and mental health problems,

his lack of prior criminal history and what he endured during his

imprisonment     awaiting    competency       evaluation     and     treatment,

warranted a downward variance to 18 months, which he had already

served. The government argued that Mr. Curtin’s letters from more than

a decade earlier showed a pattern that required a sentence at the high-

end of the advisory sentencing range – 33 months. The district court

rejected both requests and instead varied upward almost double the top

of the advisory sentencing range and imposed a sentence of 60 months.

Specifically, the district court concluded as follows:

     The Court has heard from the defendant and from defense,
     and the parties made statements in their behalf or waived the
     opportunity to present any further evidence. And pursuant to
     Title 18 United States Code 3551 and 3553, it’s the judgment
     of the Court that Mr. Curtin is committed to the Bureau of
     Prisons for an upward variance of 60 months. The reason
     why is a pattern. When I get letters that we’re going to send
     a microwave machine or ask permission to blow the brains of
     out of Chief Judge King ad that we want sweat, perspiration
     to poor [sic] fro Judge Croom’s armpit, I don’t know why it is
     that we keep sending letters to judges. We have an ongoing,
     disturbing conversation in writing with Judge Bert Jordan –
     Adalberto Jordan. I’m so bad at that. This is a pattern, and
     the pattern escalated and it escalated, and I wasn’t really
     impressed with this tincture, if that’s the word, this piece of
     reference to race in this threat. You know, this is an older
     white gentleman threatening a young African-American
     female. And I guess there are some reason to comment on


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     race, but from the victim’s point of view, there’s a little bit of
     a history in Florida, and that little reference was gratuitous
     and added to what was a clear threat. So the upper variance
     is because of the pattern, the need to respect the law, which
     is grossly disrespected, and the need for public safety. And
     he says, well, he hasn’t hurt anybody. Well, yes, these threats
     are hurtful. Someone gets a letter where someone is
     suggesting we are going to blow their brains out or I’m going
     to threaten Magistrate Judge Smith in Orlando with bodily
     injury and death, they’re very hurtful. Thank God it hasn’t
     escalated further. So it’s public safety and the repeated
     pattern that I see over a course of many years, almost to the
     point where marshals beat the path out there to do a threat
     assessment every time one of these letters comes.

(DE 237:46-47). Mr. Curtin timely appealed.


                     STANDARDS OF REVIEW

     When a defendant challenges the sufficiency of evidence supporting

a conviction, the evidence presented at trial must be viewed in the light

most favorable to the government “to determine whether a reasonable

jury, choosing among reasonable constructions of the evidence, could

have found that the defendant was guilty beyond a reasonable doubt.”

United States v. Cooper, 203 F.3d 1279, 1285 (11th Cir. 2000).

     Generally, this Court reviews a district court’s denial of a motion to

dismiss an indictment for an abuse of discretion. United States v.

Castaneda, 997 F.3d 1318, 1325 (11th Cir. 2021). “A district court by

definition abuses its discretion when it makes an error of law.” Koon v.

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United States, 116 S. Ct. 2035, 2047 (1996); accord United States v.

Hoffer, 129 F.3d 1196, 1200 (11th Cir. 1997).           Whether a criminal

defendant’s due process rights have been violated is a question of law

reviewed de novo. Castaneda, 997 F.3d at 1325.

     In reviewing a criminal sentence, this Court will first review

whether the district court properly applied the Sentencing Guidelines,

then whether the sentence is reasonable in the context of the factors

outlined in 18 U.S.C. § 3553(a). United States v. Williams, 435 F.3d 1350,

1353 (11th Cir. 2006).    This Court reviews the reasonableness of a

sentence under an abuse of discretion standard based on a totality of the

circumstances. See Gall v. United States, 552 U.S. 38, 51, 128 S. Ct. 586,

596-597 (2007).




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                  SUMMARY OF THE ARGUMENT

     One. A criminal defendant must know the facts that make his

conduct fit the definition of the offense, even if he does not know that

those facts give rise to a crime. A federal criminal offense charging the

communication of a threat to injure requires proof that the accused

intended to issue a threat or know that his communications would be

viewed as a threat. Here, Mr. Lawrence Curtin, a 78 year-old frequent

litigant, filed objections to a report and recommendation in which a

federal magistrate judge recommended that Mr. Curtin’s federal civil suit

be dismissed. In his objections, in which he disputed that he had

threatened a state court judge, Mr. Curtin provided a link to a clip from

a movie that he directed and starred in. Following the link, Mr. Curtin

stated that: “it is obvious from the totality of words in the song including

its title I am threatening Maynard with death and bodily harm. Also by

holding onto the hand of the preacher of color that I am threatening

Maynard who is a woman of color with death.” In fact, nothing about the

song title or lyrics or anything depicted in the movie clip is in any way

threatening. Read in context, the statement regarding the magistrate

judge cannot be seen as proving beyond a reasonable doubt that Mr.



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Curtin intended to issue a threat or know that his communications would

be viewed as a threat.


     Two.    Federal statute 18 U.S.C. § 4241 provides for a specific

procedure where an accused is found to be incompetent to stand trial.

That strict procedure provides for an order of detention to the custody of

the Attorney General for a period not to exceed four months for

evaluation and treatment. Here, Mr. Curtin was clearly detained beyond

that four-month limitation. Mr. Curtin spent nearly six months in a

medical facility, and Mr. Curtin was detained for nearly ten months total

after he had been committed to the custody of the Attorney General for

treatment via a judicial order. Given the clear violation of Mr. Curtin’s

due process rights, the district court erred as a matter of law when it

denied his motion to dismiss the indictment against him for a violation

of his due process rights.


     Three. Federal law requires that any judge of the United States

shall disqualify herself in any proceeding in which her impartiality

might reasonably be questioned. Here, Mr. Curtin was charged with

threatening a federal magistrate judge in the Southern District of Florida

with death. Given that a colleague was the intended victim of the threat,

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the entire judiciary of the Southern District of Florid should have sua

sponte disqualified itself and the prosecution should have immediately

been transferred to a judge in another federal district. Instead, Mr.

Curtin’s prosecution remained in the Southern District of Florida for

approximately a year.    During that time, judges from the Southern

District of Florida ruled on substantive and dispositive issues such as

detention, competency to stand trial, bond and a dispositive motion to

dismiss the indictment. Because those judges should have sua sponte

disqualified themselves and never ruled on those substantive and

dispositive motions, Mr. Curtin’s convictions and sentence should be

vacated.


     Four.    The district court imposed a procedurally unreasonable

sentence when it misapplied the Sentencing Guidelines. Specifically, the

district court should have reduced the offense level by four levels under

a provision that requires the reduction in cases of a threat where the

offense involved a single instance evidencing little or no deliberation.

Here, there was no evidence of planning or some effort to carry out the

threat. Federal courts have used that as the standard for determining

the type of deliberation required. Because there was no such deliberation


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here, the district court erred when it failed to lower the offense level by

four levels.


      Five. The district court imposed a substantively unreasonable

sentence where the court varied upward substantially by improperly

focusing on one factor regarding conduct by Mr. Curtin that was more

than a decade old and that did not result in a criminal investigation let

alone prosecution.   In addition, the district court failed to take into

account Mr. Curtin’s individual characteristics as a 78 year-old man with

physical and mental health issues with no prior criminal history.




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         ARGUMENT AND CITATIONS OF AUTHORITY

     Mr. Lawrence Curtin, a seventy-nine year old man with no prior

criminal convictions was charged with threatening a Magistrate Judge

in the Southern District of Florida with death. Yet, his prosecution

stayed in the Southern District of Florida for a year where judges in that

district made dispositive rulings in his case while his competency was

determined. He was subsequently tried and convicted by a jury in the

Middle District of Florida. The basis of the charges against Mr. Curtin

stem from objections he filed in response to a Magistrate Judge’s report

and recommendation that his civil suit be dismissed. The objections, filed

with the clerk’s office, included a statement that Mr. Curtin was

threatening the magistrate judge with death and bodily harm. But that

statement referenced a video link provided by Mr. Curtin and made it

clear that the apparent threat needed to be read in context with the video

and its content. When the statement is in fact read in context with the

video and its content, it is clear that Mr. Curtin did not intend to actually

threaten the magistrate judge or know that his communications would

be viewed as a threat.




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I.   The Government failed to prove beyond a reasonable doubt

     that Mr. Curtin intended to issue a real threat against Judge

     Maynard or that Mr. Curtin knew that his communications

     would be viewed as a threat by Judge Maynard.

     When a defendant challenges the sufficiency of evidence supporting

a conviction, the evidence presented at trial must be viewed in the light

most favorable to the government “to determine whether a reasonable

jury, choosing among reasonable constructions of the evidence, could

have found that the defendant was guilty beyond a reasonable doubt.”

United States v. Cooper, 203 F.3d 1279, 1285 (11th Cir. 2000). “If there

is a lack of substantial evidence, viewed in the Government’s favor, from

which a reasonable factfinder could find guilt beyond a reasonable doubt,

the conviction must be reversed.” United States v. Willner, 795 F.3d

1297, 1307 (11th Cir. 2015) (quoting United States v. Kelly, 888 F.3d 732,

740 (11th Cir. 1989)).

     Here, Mr. Curtin was charged in a two-count superseding

indictment with one count of mailing a threatening communication in

violation of 18 U.S.C. § 876(c) (count one) and one count of threatening to

assault and murder a United States judge in violation of 18 U.S.C. §



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115(a)(1)(B) (count two). (DE 65).        Both charges arose from the same

actions committed by Mr. Curtin, and both charges fail for the same

reason that the government failed to prove beyond a reasonable doubt

that Mr. Curtin intended to communicate an actual threat to Judge

Maynard.

     The facts underlying the two counts of the superseding indictment

are undisputed. Mr. Curtin was injured in a traffic accident on September

7, 2012 when he swerved to avoid hitting a truck that had just entered

interstate 95 from a construction site. In October 2013, Mr. Curtin filed

a civil suit against the truck owner and others seeking compensation for

his personal injuries.   St. Lucie County Circuit Judge Janet Croom

presided over the case.     On April 12, 2026, Judge Croom entered

summary judgement against Mr. Curtin. That decision was affirmed on

appeal in state court. Mr. Curtin also filed two civil law suits in federal

court, nos. 16-cv-14427 and 17-cv-14403, challenging that state civil case.

     Mr. Curtin also complained to the Governor of Florida and to the

Florida Judicial Qualification Committee (“JQC”) regarding Judge

Croom’s handling of his civil suit. In a letter to the JQC dated June 23,

2018, Mr. Curtin complained about the serious injuries he and his wife



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sustained, and he claimed that Judge Croom’s rulings violated his

constitutional rights. Mr. Curtin also cited Biblical law of an “eye for an

eye” and vowed to “stop Croom.” The JQC viewed that statement as a

threat against Judge Croom and referred Mr. Curtin for prosecution by

state authorities.

     Mr. Curtin was in fact prosecuted in state court for threatening

Judge Croom. However, the state court eventually found that Mr. Curtin

was not competent to stand trial and the state court dismissed the

charges against Mr. Curtin.

     Mr. Curtin filed another civil suit in federal court challenging the

state court decisions, 20-cv-14128-MARTINEZ. This time, Mr., Curtin

added the whole of the state judiciary and claimed that the actions of the

judiciary were tantamount to an organized crime conspiracy. Mr. Curtin

represented himself in this lawsuit and was considered a pro se litigant.

Mr. Curtin had filed a handful of previous federal lawsuits, all of them

as a pro se litigant. Because Mr. Curtin resides in Fort Pierce, Florida,

his federal legal filings are sent to the Fort Pierce division of the Southern

District of Florida. There is only one federal magistrate judge in the Fort

Pierce division, and so all of Mr. Curtin’s legal filings in federal court



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went to that single magistrate judge, Judge Maynard. And in all of Mr.

Curtin’s previous federal cases, that single magistrate judge had

recommended that the lawsuit be dismissed and that recommendation

had been adopted by the district court judge assigned to the case.

Similarly, in case 20-cv-14128, the case was referred to that same

magistrate judge, Judge Maynard, and Judge Maynard issued a report

recommending that the current civil case field by Mr. Curtin be likewise

dismissed.

     As required by local rules, Mr. Curtin filed objections to the

Magistrate Judge’s report and recommendation. The contents of those

objections form the basis for the underlying criminal prosecution. Mr.

Curtin attempted to file the objections in person at the clerk’s office in

the Fort Pierce federal courthouse, but was unable and subsequently

mailed the objections to the clerk’s office.

     It should be noted that at the time that the objections were filed,

Judge Maynard was aware that Mr. Curtin was a frequent litigator

whose filings were often nonsensical and rarely made sense.                  For

example, in the case in which the objections were filed, he claimed that

the entire judiciary in the state of Florida was actually an organized



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criminal enterprise. Judge Maynard was also aware of the fact that Mr.

Curtin had been prosecuted in state court for threatening a state judge

based on Mr. Curtin’s statements to the state JQC regarding “an eye for

an eye” and wanting to “stop” the state judge who ruled against him.

Importantly, Judge Maynard was aware that Mr. Curtin had been found

incompetent to stand trial and the state charges had been dismissed on

that basis.

     In the objections to the Magistrate Judge’s Report and

Recommendation, Mr. Curtin objected to the case law cited by the

Magistrate Judge arguing that his claim is RICO and Honest Services

Fraud and that those cases do not apply to his law suit. Mr. Curtin also

objected to application of the abstention doctrine since his state

prosecution had been dismissed and he denies trying to have the federal

court act as a super appellate state court. Mr. Curtin then turns his

attention to the underlying basis for his state criminal case – the threat

against Judge Croom:

     WHERE IN MY JUNE 23, 2018 LETTER DO I THREATEN
     DEATH OR BODILY HARM TO CROOM? NO WHERE!

     MY JUNE 23, 2018 LETTER AS YOU WILL NOTE IS
     ADDDRESSED TO THE JUDICIAL QUALIFICATIONS
     COMMISSION (JQC). YOU DO NOT ADDRESS A LETTER


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     TO THE JQC TO THREATEN A JUDGES PERSON. YOU
     ADDRESS IT TO THE JQC TO THREATEN A JUDGES
     POSITION. MAYNARD IS UNABLE TO UNDERSTAND
     THIS.

     I ALSO NAMED MAYNARD AS AN ADDIER AND
     ABETTER [sic].   MAYNARD KNEW ABOUT THE
     DEFENDANT’S REFUSING MY HEART MEDICATION IN
     AN EFFORT TO KILL ME YET SHE COVERED IT UP.

            https://www.youtube.com/watch?v=a2vUNuX5Hgl

     IT IS OBVIOUS FROM THE TOTALITY OF WORDS IN THE
     SONG INCLUDING ITS TITLE I AM THREATENING
     MAYNARD WITH DEATH AND BODILY HARM. ALSO BY
     HOLDING ONTO THE HAND OF THE PREACHER OF
     COLOR THAT I AM THREATENING MAYNARD WHO IS A
     WOMAN OF COLOR WITH DEATH.

              “WITH LIBERTY AND JUSTICE FOR ALL”

(20-cv-14128:DE 14). Mr. Curtin then dated and signed the objections

and noted his full name, address and social security number.

     Mr. Curtin’s exact words and their context are important. Mr.

Curtin did write, “I am threatening Maynard with death and bodily

harm,” and “I am threatening Maynard . . . with death.”              But each

statement was tied to Youtube link provided my Mr. Curtin. That link

was to a clip from the 1988 movie “One Minute to Midnight” which was

directed by Mr. Curtin and starred Mr. Curtin. See One Minute to

Midnight,               IMDB.com,                   available                 at


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https://www.imdb.com/title/tt0180887/?ref_=fn_al_tt_3 (last visited June

29, 2022). The specific scene from that movie linked by Mr. Curtin was

a scene in which Mr. Curtin’s character and his family are attending a

church service. The choir starts singing the spiritual song “My Lord and

I” as Mr. Curtin’s character and his family stand and clap mostly to the

rhythm of the song. At the end of the song, Mr. Curtin’s character walks

up the aisle, reaches up to the elevated pulpit and shakes the minister’s

hand. The minister, the choir and most of the congregation is African-

American. The lyrics to “My Lord and I” are as follows:

             Well we’re gonna walk this road to Glory Children
                              My Lord and I
             Yeah we’re gonna walk and tell the story Children
                              My Lord and I
                       When I come to the river wide
                   Blessed Lord is gonna calm the tide
               We’re gonna walk this road to Glory Children
                              My Lord and I
                                (Repeat)

               We’re gonna walk this road to Glory Children
                              My Lord and I
             Yeah we’re gonna walk and tell the story Children
                              My Lord and I
                        Rain or shine, snow or sleet
                        Blessed Lord, guide my feet
               We’re gonna walk this road to glory Children
                              My Lord and I

           Well such is my consolation, my burdens out of the way


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               The Holy Spirit guides me as I travel day by day
                When I pull into his station, I get a full supply
               Yeah we’re gonna walk the road to glory Children
                                My Lord and I
                We’re gonna walk and talk all the way to glory
                  Gonna walk and tell this blessed old story
                      Walk and talk all the way to glory
                                My Lord and I
                       When I comes to the river, wide
                   The blessed Lord is gonna calm the tide
                 We’re gonna walk this road to glory Children
                                My Lord and I
                                   (Repeat)

My Lord and I Lyrics, by Heritage Singers, Lyrics on Demand, available

at

https://www.lyricsondemand.com/h/heritagesingerslyrics/mylordandilyri

cs.html

(last visited July 11, 2022).

     Nothing about the title of the song or the words in the lyrics even

remotely connotes any kind of threat much less a threat of “death and

bodily harm.” If anything, the title, the words in the lyrics and the way

the song is performed in the clip is exactly the opposite of a threat. Also,

the part of the clip where Mr. Curtin’s character walks forward, reaches

up and shakes the minister’s hand is in no way threatening. Again, if

anything, those actions appear to be the exact opposite of a threat, and



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certainly cannot reasonably be seen as a threat of death. In that context,

then, what is a reasonable reading of Mr. Curtin’s words:

     It is obvious from the totality of words in the song including
     its title I am threatening Maynard with death and bodily
     harm. Also by holding onto the hand of the preacher of color
     that I am threatening Maynard who is a woman of color with
     death.

Reading the statement in its entirety with the words and title to the song

in the clip and the actions of Mr. Curtin’s character in the clip, it is clear

that there was no true threat.

     Mr. Curtin was convicted of two separate federal offenses. Section

876(c) of Title 18 makes it a crime to:

      knowingly [ ] deposit[] or cause[] to be delivered as aforesaid,
      any communication with or without a name or designating
      mark subscribed thereto, addressed to any other person and
      containing any threat to kidnap any person or any threat to
      injure the person of the addressee or of another.

18 U.S.C. § 876(c). Section 115(a)(1) of Title 18 makes it a crime to:

      Threaten[], assault, kidnap, or murder . . . a United States
      judge . . . with intent to impede, intimidate, or interfere such
      . . . judge . . . or with intent to retaliate against such . . . judge
      . . . on account of performance of official duties.

18 U.S.C. § 115(a)(1)(B).

      As the Supreme Court has stressed, a criminal “defendant

generally must know the facts that make his conduct fit the definition of


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the offense, even if he does not know that those facts give rise to a crime.”

Elonis v. United States, 135 S. Ct. 2001, 2009 (2015). In Elonis, in the

context of another federal statute that requires “a threat to injure,” §

875(c), the Supreme Court held that the “threat to injure” in § 875

requires proof that the accused intended to issue a threat or know that

his communications would be viewed as a threat. Elonis, 135 S. Ct. at

2011-2012. That same standard applies here.

     Here, viewing Mr. Curtin’s full statement in context leads to the

inevitable conclusion that Mr. Curtin did not intend the statement to be

a threat and that he did not know the statement would be viewed as a

threat. To start, Mr. Curtin’s statement was not an isolated statement

mailed or sent directly to Judge Maynard.              Rather, Mr. Curtin’s

statement was part of his objections that he was required to file to Judge

Maynard’s report and recommendation in his civil suit, case no. 20-cv-

14128. Mr. Curtin attempted to file those objections in person at the

Fort Pierce federal courthouse, but he was unable to file them in person

due to limited hours for the clerk’s office at the courthouse.               He

subsequently mailed them to the clerk’s office.




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     The objections filed by Mr. Curtin had the proper legal heading,

case number and were properly and prominently labeled “Objection to

Maynard Report and Recommendation.”                 Mr. Curtin notes legal

objections to application of 42 U.S.C. § 1983 to his civil suit. Mr. Curtin

also makes a legal argument that the magistrate judge failed to properly

analyze his civil suit under federal R.I.C.O. laws and as an “Honest

Services Fraud Claim.”       Mr. Curtin also noted factual objections

regarding the pendency of the state criminal action and the legal

application of abstention doctrine based on that factual determination.

     Mr. Curtin then noted his objection to his having threatened the

state judge with death or bodily harm. Mr. Curtin makes the important

distinction that his letter was addressed to the JQC and thus cannot be

seen as a personal threat to the judge. It is at that point in his objections

that Mr. Curtin provided the link to the clip from his movie and stated:

     It is obvious from the totality of words in the song including
     its title I am threatening Maynard with death and bodily
     harm. Also by holding onto the hand of the preacher of color
     that I am threatening Maynard who is a woman of color with
     death.

He then signed the objections and noted his full name, correct address

and telephone number.



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      Given that complete context, including the words and title to the

song in the clip, no reasonable factfinder could have found beyond a

reasonable doubt that Mr. Curtin intended the statement to be a threat

or that Mr. Curtin knew that the statement would be viewed as a threat.

Because, even when viewed in the Government’s favor, the Government

failed to provide evidence “from which a reasonable factfinder could find

guilt beyond a reasonable doubt, the conviction must be reversed.” See

Willner, 795 F.3d at 1307; Kelly, 888 F.3d at 740.

II.   The district court erred when it denied Mr. Curtin’s motion

      to dismiss the superseding indictment where Mr. Curtin

      was detained for evaluation and treatment by the Attorney

      General beyond the term of hospitalization authorized by

      statute.

      In 1972, the Supreme Court made it clear that a criminal defendant

who may not be competent to stand trial cannot be held more than the

reasonable period of time necessary to determine whether the accused is

competent or “whether there is a substantial probability that he will

attain that capacity in the foreseeable future.” Jackson v. Indiana, 406

U.S. 715, 738 (1972).    “[D]ue process requires that the nature and



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duration of commitment bear some reasonable relation to the purpose for

which the individual is committed.” Id.

     In 1984, those due process concerns were codified into federal law

when Congress passed The Insanity Defense Reform Act of 1984

(“IDRA”), Pub. L. 98-473, 98 Stat. 2057 (1984), 18 U.S.C. §§ 4241-4247.

The Act was passed in response to the Supreme Court’s decision in

Jackson. See United States v. Donofrio, 986 F.3d 1301, 1302 (11th Cir.

1990). As relevant here, that statute provides a procedure for raising the

competency of a criminal to stand trial. Specifically, the statute provides

that either counsel for the accused or counsel for the government can file

a motion to determine the mental competency of a criminal defendant.

18 U.S.C. § 4241(a). The Court can then order an initial psychiatric

examination and hold a hearing on the competency of the accused. 18

U.S.C. § 4241(b),(c). The statute then specifies as follows:

     If, after the hearing, the court finds by a preponderance of the
     evidence that the defendant is presently suffering from a
     mental disease or defect rendering him mentally incompetent
     to the extent that he is unable to understand the nature and
     consequences of the proceedings against him or to assist
     properly in his defense, the court shall commit the defendant
     to the custody of the Attorney General. The Attorney General
     shall hospitalize the defendant for treatment in a suitable
     facility –



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     (1) For such a reasonable period, not to exceed four
         months, as is necessary to determine whether there is a
         substantial probability that in the foreseeable future he
         will attain the capacity to permit the proceedings to go
         forward; and

     (2) For an additional reasonable period of time until ---

     (A) His mental condition is so improved that trial may
        proceed, if the court finds that there is a substantial
        probability that within such additional period of time he
        will attain the capacity to permit the proceedings to go
        forward; or

     (B) The pending charges against him are disposed of
        according to law;

     Whichever is earlier.

     If at the end of the time period specified, it is determined that
     the defendant’s mental condition has not so improved as to
     permit the proceeding to go forward, the defendant is subject
     to the provisions of section 4246 and 4248.

18 U.S.C. § 4241(d) (emphasis added). This Court has long held that the

language of the statute is mandatory.         Donofrio, 896 F.3d at 1303

(agreeing with the holding of the Seventh Circuit in United States v.

Shawar, 865 F.2d 856, 863 (7th Cir. 1989)).             “The statute limits

confinement to four months, whether more time would be reasonable or

not.” Donofrio, 896 F.3d at 1303.        Section 4241(d) “requires that a

determination as to the individual’s mental condition be made within



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four months, and that the individual cannot be held pursuant to section

4241 in excess of four months unless the court finds that the individual

is likely to attain competency within a reasonable time.” United States

v. Baker, 807 F.2d 1315, 1320 (6th Cir. 1986).

     Here, Mr. Curtin was arrested by federal authorities on August 24,

2020. On September 15, 2020, counsel for Mr. Curtin and counsel for the

government filed a joint motion for a competency evaluation under the

IDRA.   On November 24, 2020, a magistrate judge in the Southern

District of Florida determined that Mr. Curtin was not competent to

proceed and ordered Mr. Curtin committed to custody of the Attorney

General for hospitalization “not to exceed four months, as is necessary to

determine whether there is a substantial probability that in the

foreseeable future he will attain the capacity to proceed.”          (DE 24).

However, it was not until four months later, March 22, 2021, that Mr.

Curtin was actually transferred to a medical facility, FMC Devens, for

treatment as ordered.

     On July 23, 2021, four months after Mr. Curtin had been finally

transferred to a medical facility for treatment, and eight months after he

had been committed to the custody of the Attorney General for treatment



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via a judicial order, counsel for Mr. Curtin filed a motion to dismiss the

charges against Mr. Curtin based on the fact that he had been detained

beyond the statutory four-month limit expressly provided by section

4241(d). On August 6, 2021, a district judge from the Southern District

of Florida denied the motion to dismiss. (DE 79). The district court

agreed with Mr. Curtin that the duration of his confinement exceeded the

term authorized in section 4241(d). Citing the Second Circuit’s holding

in United States v. Magassouba, 544 F.2d 387, 412-13 (2d Cir. 2008), that

“section 4241(d)(1) confinement is limited not only as to time and purpose

but also as to place,” the district court concluded that “the Attorney

General’s continued confinement of [Mr. Curtin] at MNC Devens is

without authority under section 4241(d)(1).” (DE 79:4).

     The district court also rejected Mr. Curtin’s argument that the four-

month statutory limit for evaluation necessarily included a conclusion as

to the result of the evaluation and communication of that result.

Ultimately, the district court denied Mr. Curtin’s motion and ordered Mr.

Curtin’s return to the Federal Detention Center in Miami. The court also

ordered the government to provide weekly status reports until Mr. Curtin

was returned to Miami, thus suggesting that the district court



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anticipated a prolonged period before Mr. Curtin was returned to Miami.

Id.

      In fact, Mr. Curtin was not returned to Miami forthwith as ordered

by the Court. On September 14, 2021, the district court held a status

conference on Mr. Curtin’s competency. (DE 241). Mr. Curtin was not

brought to court that day because of a medical issue. However, counsel

for the government noted that she had not received the report regarding

Mr. Curtin’s competency until the day before, September 13, 2021, and

had forwarded a copy of the report to counsel for Mr. Curtin. Thus, nearly

six months after Mr. Curtin had been finally transferred to a medical

facility for treatment, nearly ten months after he had been committed to

the custody of the Attorney General for treatment via a judicial order,

and nearly two months since he was ordered to be returned to the

Southern District of Florida forthwith, Mr. Curtin was returned to the

Southern District of Florida and counsel for Mr. Curtin and the

government were finally provided with the medical report regarding Mr.

Curtin’s competency. (DE 243).

      In denying Mr. Curtin’s motion to dismiss the indictment, the

district court only counted the time from when Mr. Curtin arrived at



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Devens and started treatment. However, the district court should have

started counting the four months from November 24, 2020, when the

magistrate judge ordered Mr. Curtin committed to custody of the

Attorney General for hospitalization “not to exceed four months, as is

necessary to determine whether there is a substantial probability that in

the foreseeable future he will attain the capacity to proceed.” (DE 24).

The view that the four-month limit starts when the accused is committed

to the custody of the Attorney General for analysis and treatment is

consistent with the plain language of section 4241(d) authorizing a

limited detention of an accused for analysis and treatment. That view is

also consistent with the due process analysis in Jackson v. Indiana.

Because the district court made a legal error in failing to count the four

months from the order committing Mr. Curtin to the Attorney General to

when he was finally transferred to a medical facility for analysis and

treatment, the decision to deny the motion to dismiss was necessarily an

abuse of discretion. See Koon v. United States, 116 S. Ct. 2035, 2047

(1996); United States v. Hoffer, 129 F.3d 1196, 1200 (11th Cir. 1997).

     But under any standard, the district court’s denial of Mr. Curtin’s

motion to dismiss the indictment was reversible error. “At least, due



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process requires that the nature and duration of commitment bear some

reasonable relation to the purpose for which the individual is committed.”

Jackson, 406 U.S. at 738. Section 4241’s four-month limitation serves, at

least, as a presumptive limit on what due process will allow. Here, Mr.

Curtin was clearly detained beyond that four-month limitation. Mr.

Curtin spent nearly six months in a medical facility, and Mr. Curtin was

detained for nearly ten months total after he had been committed to the

custody of the Attorney General for treatment via a judicial order. Given

the clear violation of Mr. Curtin’s due process rights, the district court

erred as a matter of law when it denied his motion to dismiss the

indictment against him. Based on that due process violation, this Court

must now vacate Mr. Curtin’s conviction and remand with instructions

to dismiss the charges against him.

 III.   The District Court for the Southern District of

        Florida erred as a matter of law when it failed to sua

        sponte recuse itself from deciding any material issues

        in Mr. Curtin’s prosecution for threatening a

        Southern District of Florida federal magistrate judge

        where the District Court for the Southern District of



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       Florida decided substantive issues such as bond,

       competency and motions to dismiss the indictment

       against Mr. Curtin while Mr. Curtin remained

       imprisoned for almost a year before the prosecution

       was transferred to the Middle District of Florida.

     Federal law provides that “[a]ny . . . judge . . . of the United States

shall disqualify himself in any proceeding in which his impartiality

might reasonably be questioned.” 28 U.S.C. § 455(a) (emphasis added).

Judges must sua sponte recuse themselves when this statutory ground

exists. United States v. Kelly, 888 F.2d 732, 744 (11th Cir. 1989). “The

very purpose of § 455(a) is to promote confidence in the judiciary by

avoiding even the appearance of impropriety whenever possible.” Id.

(quoting Lifeberg v. Health Services Acquisition Corp., 108 S. Ct. 2194,

2205 (1988).

     “[R]ecusal under § 455(a) turns on ‘whether an objective,

disinterested, lay observer fully informed of the facts underlying the

grounds on which recusal was sought would entertain a significant doubt

about the judge’s impartiality.’” In Re Moody, 755 F.3d 891, 894 (11th

Cir. 2014) (quoting United States v. Scrushy, 721 F.3d 1288, 1303 (11th



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Cir. 2013)). “Any doubts must be resolved in favor of recusal.” Id. at 895

(quoting United States v. Patti, 337 F.3d 1317, 1321 (11th Cir. 2003)).

     In Moody, this Court addressed the parameters of judicial recusal

under 28 U.S.C. § 455. Walter Leroy Moody, Jr. was convicted in federal

and state courts for the 1989 murder of Eleventh Circuit Judge Robert S.

Vance. Moody, 755 F.3d at 892. After a federal grand jury returned a

murder indictment against Moody, all judges in the Northern District of

Georgia and all judges on the Eleventh Circuit recused themselves from

hearing Moody’s case. Id. at 893-894. Moody’s trial was presided over by

a district judge from the District of Minnesota and the trial took place in

the district of Minnesota. Id. Moody was convicted and sentenced to

several life terms. The convictions and sentences were affirmed by this

Court but by a panel of judges from the Fourth Circuit. Id.

     The Moody panel, nearly a quarter of a century after the murder of

Judge Vance, decided a mandamus petition arising from Moody’s federal

habeas petition attacking his State of Alabama conviction for the murder

of Judge Vance.    Moody argued that all district and magistrate judges

within the Eleventh Circuit should have been recused from hearing his




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habeas petition and that all judges on the Eleventh Circuit should have

been recused from hearing his mandamus petition. Id. at 893.

     In determining that the three-judge panel need not recuse itself

from hearing Moody’s mandamus petition, the panel focused on the

connection that the individual members of the panel may have had with

the victim of the offense, Judge Vance. Id. at 895. Specifically, the panel

noted that: 1) the panel members were not even part of the judiciary, let

alone the Eleventh Circuit, at the time of Judge Vance’s murder; 2) even

though two panel members clerked for judges on the Eleventh Circuit,

they did so prior to Judge Vance’s murder; 3) no member of the panel

enjoyed a personal relationship with Judge Vance or his family; and 4)

the two Eleventh Circuit judges who took part in Moody’s prosecution in

Alabama had already recused themselves on that basis. Id. at 895. The

panel concluded that “the only connection between the members of this

panel and Moody’s current case is our current service on the Eleventh

Circuit and Judge Vance’s service on the same court at the time of his

death in 1989. And that is not enough.” Id. at 896. In adopting the close-

personal-connection-to-the-victim-judge analysis, the panel rejected a

more stringent test from other circuits requiring recusal only when the



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presiding judge was also a potential victim.           See id. at 896, 897

(distinguishing In Re Nettles, 394 F.3d 1001 (7th Cir. 2005), and Clemens

v. U.S. District Court for the Central District of California, 428 F.3d 1175

(9th Cir. 2005)).

     Ordinarily, a decision on recusal is reviewed for an abuse of

discretion. United States v. Bailey, 175 F.3d 966, 968 (11th Cir. 1999).

However, where a defendant fails to request recusal, the matter is

reviewed for plain error. United States v. Berger, 375 F.3d 1223, 1227

(11th Cir. 2004).

     Here, Mr. Curtin did not initially request the recusal of the judge

presiding over his criminal prosecution. For over a year, during which

Mr. Curtin remained imprisoned, judges from the Southern District of

Florida made crucial decisions on substantive matters in Mr. Curtin’s

prosecution such as whether he would get a fair bond, whether he was

competent to stand trial and whether the charges against him should be

dismissed. Specifically, on November 24, 2020, a magistrate judge from

the Southern District of Florida determined that Mr. Curtin was not

competent to stand trial and ordered his commitment to the Attorney

General for analysis and treatment under 18 U.S.C. § 4241(d). (DE 24).



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And on August 6, 2021, a district judge from the Southern District of

Florida denied Mr. Curtin’s motion to dismiss the charges against him.

(DE 79). However, the Moody decision makes it clear, the district court’s

failure sua sponte to recuse itself was error that was plain.

     Under the plain error doctrine, “there must be error, the error must

be plain, and the error must affect substantial rights.” United States v.

Knowles, 66 F.3d 1146, 1157 (11th Cir. 1995) (citing United States v.

Olano, 507 U.S. 725, 732-36, 113 S. Ct. 1770 (1993)). “If these three

prongs are met, [the court of appeals has] the discretion to correct the

error, and [it] should do so if that error ‘seriously affects the fairness,

integrity, or public reputation of judicial proceedings.’” United States v.

Vazquez, 53 F.3d 1216, 1221 (11th Cir. 1995) (quoting Olano, 507 U.S. at

736, 113 S. Ct. at 1779); see also United States v. Atkinson, 297 U.S. 157,

56 S. Ct. 391, 80 L. Ed. 555 (1936).

     Again, in Moody, this court adopted a close-personal-connection-to-

the-victim-judge test to determine whether “an objective, disinterested,

lay observer fully informed of the facts underlying the grounds on which

recusal was sought would entertain a significant doubt about the judge’s

impartiality.” See Moody, 755 F.3d at 894-896. Applying the Moody test



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here demonstrates that the district court committed an error that is

plain.

     Here, Mr. Curtin was charged with threatening a federal

magistrate judge in the Southern District of Florida. Yet, another federal

magistrate judge from the Southern District of Florida, a colleague of the

alleged victim, made crucial and substantive determinations regarding

Mr. Curtin’s liberty and mental health status. A district court judge from

the Southern District of Florida, another colleague of the alleged victim,

made more crucial and substantive determinations in Mr. Curtin’s

prosecution including on a dispositive motion to dismiss the indictment

against Mr. Curtin.

     Objectively, it is clear that the alleged victim here and the judges

from the Southern District of Florida have a close professional

relationship. Under Moody, that relationship would lead “an objective,

disinterested, lay observer fully informed of the facts underlying the

grounds on which recusal was sought [to] entertain a significant doubt

about the judge’s impartiality.” See Moody, 755 F.3d at 894-896. That,

in turn, would trigger the mandatory recusal policy of section 455(a)

which mandates that the judge shall disqualify herself in any proceeding



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in which her “impartiality might reasonably be questioned.”               See 28

U.S.C. § 455(a); see also Moody, 755 F.3d at 894-896. Thus, there is error

and that error is plain.

     The error affected Mr. Curtin’s substantial rights. A plain error

affects a defendant’s substantial rights if he can “show a reasonable

probability that, but for the error, the outcome of the proceeding would

have been different.” Molina-Martinez v. United States, 136 S. Ct. 1338,

1343 (2016). Here, as argued above, Mr. Curtin’s due process rights were

violated when he was detained far longer than authorized by statute

based on an initial determination that he was incompetent to stand trial.

Based on Mr. Curtin’s deprivation of liberty for almost a year, the error

is clearly one that affected Mr. Curtin’s substantial rights. See Molina-

Martinez, 136 S. Ct. at 1348-49 (2016) (holding that an error in

Sentencing Guidelines calculations which may have resulted in an

erroneous deprivation of liberty affected substantial rights).

     In addition, the error is also the kind of error that undermines the

fairness, integrity, and public reputation of the judicial proceedings so

that this Court must act to correct the error. Again, the judges from the

Southern District of Florida should have recused themselves because “an



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objective, disinterested, lay observer fully informed of the facts

underlying the grounds on which recusal was sought would entertain a

significant doubt about the judge’s impartiality.” That, by definition, is

error that undermines the fairness, integrity, and public reputation of

the judicial proceedings. See Rosales-Mireles v. United States, 138 S. Ct.

1897, 1908-09 (2018) (holding that a plain error in Sentencing Guidelines

calculations which may have resulted in an erroneous deprivation of

liberty requires correction by appellate courts). Accordingly, this Court

must vacate the judgment of the district court.

IV.    The district court imposed a procedurally unreasonable

       sentence when it failed to reduce the offense level by four

       levels pursuant to U.S.S.G. 2A6.1(b)(6) where Mr. Curtin’s

       offense involved a single instance involving little or no

       deliberation.

      The Sentencing Guidelines provide for a base offense level of 12 for

offenses involving a threatening or harassing communication. U.S.S.G.

§ 2A6.1(a)(1). That guideline section further provides for a four-level

reduction of the offense level where “the offense involved a single

instance evidencing little or no deliberation.” U.S.S.G. § 2A6.1(b)(6). The



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background commentary to the section further elaborates that the

statutes applicable to the section “cover a wide range of conduct, the

seriousness of which depends upon the defendant’s intent and the

likelihood that the defendant would carry out the threat [and] [t]he

specific offense characteristics are intended to distinguish such cases.”

U.S.S.G. § 2A6.1, comment. (backg’d).

     In determining whether a defendant has evidenced little or no

deliberation, this Court has looked outside the threat itself to the actions

and intent of the defendant and to a demonstrated ability to carry out the

threat. See United States v. Russell, 322 Fed. App’x 920, 923-924 (11th

Cir. April 13, 2009) (unpublished). In affirming the denial of the four-

level reduction in Russell, this Court relied on two factors: 1) the

defendant stated that he had walked from Alabama to Georgia

specifically to kill the President when he in fact had walked and

hitchhiked from Alabama to Georgia; and 2) the defendant included a

great deal of detail into why he needed to kill the President. Id. In

analyzing this Court’s decision in Russell along with decision from other

circuits dealing with the four-level reduction and the question of

sufficiency of deliberation, the Second Circuit came up with two general



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factors that Courts have applied to the question. United States v. Wright-

Darrisaw, 781 F.3d 35, 41 (2d Cir. 2015).             First, the Court looked at

“whether, and under what circumstances, the threat itself has been

repeated.” Id. Second, the Court looked at “whether there is evidence of

planning or some effort to carry out the threat.” Id. In analyzing those

factors, the Court held “that the ‘deliberation’ to be considered under §

2A6.1(b)(6) of the Sentencing Guidelines is deliberation related to the

communication of the threat.” Id.

     Applying the Wright-Darrisaw factors here leads to the simple

conclusion that there was little or no deliberation as that term is used in

§ 2A6.1(b)(6). First, there was a single threat made by Mr. Curtin – the

threat contained in his objections to the Magistrate Judge’s report and

recommendation. Second, and more significantly, there is NO evidence

of planning or effort to carry out the threat by Mr. Curtin. Here, Mr.

Curtin   filed   objections   to   the        Magistrate    Judge’s    report    and

recommendation that were emotional and clearly showed his frustration

with the justice system. As part of those very emotional objections, he

threatened the Magistrate Judge. There was no proof of planning or

effort to carry out that threat.         Compare, for example, this Court’s



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decision in Russell where the defendant walked and hitchhiked across

state lines to carry out his threat and where the defendant had a very

detailed planned explanation for carrying out that threat. There was

absolutely no evidence of that kind of planning or effort to carry out the

threat here. There were just words in an emotional pleading. Because

the facts here demonstrate a complete lack of deliberation as required by

§ 2A6.1(b)(6), the district court erred in failing to reduce the offense level

by four levels. This Court must thus vacate the judgment of the district

court and remand the case for resentencing.

V.     The district court imposed a substantively unreasonable

       sentence on Mr. Curtin when it imposed a sentence of sixty

       months’ imprisonment              which was        the result        of   a

       substantial      upward       variance       from      the      advisory

       sentencing range where neither the nature of offense nor

       the individual characteristics of Mr. Curtin warranted an

       upward       departure      and     where      the     district     court

       improperly focused on prior bad acts that were more than

       a decade old and were never prosecuted while ignoring

       Mr. Curtin’s personal characteristics as a 78 year-old first



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       time offender with substantial physical and mental health

       issues.

     Section 3553(a) mandates that the sentencing court “shall impose a

sentence sufficient, but not greater than necessary,” and further

mandates that the sentencing court, “in determining the particular

sentence to be imposed, shall consider –

     (1)   the nature and circumstances of the offense and the
           history and characteristics of the defendant;
     (2)   the need for the sentence imposed –
           (A) to reflect the seriousness of the offense, to
                 promote respect for the law, and to provide
                 just punishment for the offense;
           (B) to afford adequate deterrence to criminal
                 conduct;
           (C) to protect the public from further crimes of
                 the defendant; and
           (D) to provide the defendant with needed
                 educational or vocational training, medical
                 care, or other correctional treatment in the
                 most effective manner.

18 U.S.C. § 3553(a)(1),(2) (emphasis added). “[A] sentence still may be

substantially unreasonable if it does ‘not achieve the purposes of

sentencing stated in § 3553(a).’” United States v. Pugh, 515 F.3d 1179,

1191 (11th Cir. 2008).

     “[A] district court commits a clear error in judgment when it weighs

[the §3553(a)] factors unreasonably, arriving at a sentence that does not


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achieve the purposes of sentencing as stated in § 3553(a).” United States

v. Irey, 612 F.3d 1160, 1189 (11th Cir. 2010) (en banc) (citations omitted).

In order to determine whether that has occurred, an appellate court is

required to “review each step the district court took” in making the

sentencing calculus, and then make the sentencing calculus itself. Id.

              District Court testified on disputed facts

     At the sentencing hearing, the district court sua sponte brought up

facts based on the judge’s personal knowledge that were not presented as

evidence, with no notice to Mr. Curtin and which went to the severity of

the offense. Specifically, the district court stated as follows:

     And I want to say for the record there’s some dispute in the
     record as to the phrase “road to glory.” I will say I don’t put
     any stead in it and don’t base any sentence on it, but I’m very,
     very familiar with what I would call Evangelical-type
     Protestant churches. I grew up in one. And until I could get
     out of it, we went to church three times a week, Sunday
     morning, Sunday night, and Wednesday night. And “glory,”
     the reference to “glory,” in that milieu means heaven. It
     doesn’t mean glory like we might think George Washington
     got glory in the Revolutionary War. Protestants in that type
     of church when they say “glory,” that means heaven.
     Sometimes they say, my mother’s passed; she’s in glory. So
     again, I don’t put any stead on it. I don’t hinge any sentence
     on it, but to the extent that’s a dispute in the record, I have to
     tell you what my experience is, and I’m quite certain about
     that.




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(DE :7-8). The district court thus presented evidence on a crucial factual

point that it conceded was in dispute. The court noted that it didn’t “put

any stead on it,” but the evidence presented by the testimony of the

district court was important to the severity of the offense. The testimony

of the district court made it seem that Mr. Curtin’s reference to the song

and the lyrics was a reference to Judge Maynard being dead and going to

heaven. That evidence was important because the normal meaning of

the song title and lyrics in no way suggested anything menacing or

threatening.   However, the Court’s testimony, based on the court’s

specialized knowledge, transformed the benign and even optimistic

reference to “glory” into a more menacing reference to death.             That

specific evidentiary point had not been placed into evidence by any other

witness for the government. In addition, counsel for Mr. Curtin had no

notice that the district court was going to present that evidence and no

opportunity to refute it in any meaningful way. The district court’s

presentation of that specialized evidence, and the emphatic certainty

that it provided to the evidence, clearly colored the sentencing to the

prejudice of Mr. Curtin and was completely improper. The district court

ended up imposing a sentence that was 100% increase over what had



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been requested. The testimonial evidence provided by the district court

clearly had an effect on the sentence imposed. Because the improper

evidence should never have been provided or relied on, this Court must

vacate the judgment of the district court and remand the matter to the

district court for resentencing.

             Improper Weighing of Sentencing Factors

     In determining the appropriate sentence to impose on Mr. Curtin,

the district court improperly gave too much weight to uncharged prior

conduct for a 78 year-old man with no prior criminal convictions and zero

criminal history points while at the same time failing to properly weigh

the specific characteristics of Mr. Curtin such as his age, failing physical

health and most importantly, his failing mental health. It was only

through an improper weighing of the sentencing factors that the district

court arrived at an upward variance sentence that was an 82% increase

from the top of the advisory sentencing range, which was the sentence

requested by the government, and more than three times higher than the

sentence requested by Mr. Curtin.

               Mr. Curtin’s Personal Characteristics

     As noted above, federal statute mandates that a sentencing court



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must take into account the personal characteristics of a defendant being

sentenced. 18 U.S.C. § 3553(a)(1). At the time of sentencing, Mr. Curtin

was a 78 year-old male in very poor health.          Specifically, Mr. Curtin

suffers from hypertension, heart disease, Type 2 diabetes, and an

umbilical hernia. PSR ¶ 55. Mr. Curtin was fitted with a defibrillator in

2013 and, as noted by counsel at sentencing, the defibrillator

malfunctioned during his imprisonment causing Mr. Curtin to be

transported to a medical facility.      Mr. Curtin also suffers from skin

cancer. Most prominently, Mr. Curtin suffers from mental health issues.

Mr. Curtin has been diagnosed with Schizophrenia and other psychotic

disorders. PSR ¶ 56. In fact, in the presentence report, the probation

officer highlighted the fact that Mr. Curtin’s “untreated mental health

diagnosis” provided a factor that might warrant a sentence below the

advisory sentencing range. PSR ¶ 84.

     Yet, none of those factors were considered in reaching a sentence

that was sufficient but not greater than necessary. In response to defense

counsel, and after it had already arrived at the final sentence, the district

court noted that it had taken Mr. Curtin’s mental health issues into

account and that was the only reason that the sentence imposed would



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not be higher. However, that post-hoc rationale simply rings hollow. It

is very difficult to believe that the district court would have imposed a

sentence far in excess of the final sentence of 60 months’ imprisonment

for an offense with an advisory sentencing range of 27-33 months and a

78 year-old, first-time offender, and that only Mr. Curtin’s mental health

reduced that sentence to a still-excessive 60 months. A more logical

explanation is that Mr. Curtin’s personal characteristics simply were not

included in the analysis of determining an appropriate sentence.

                         Mr. Curtin’s History

     The flipside of the district court’s analysis is that it relied too

heavily on Mr. Curtin’s history.        Specifically, it is clear from the

statements of the district court that the sentencing calculus for Mr.

Curtin was driven mostly by prior bad acts of Mr. Curtin that were

investigated but never charged as crimes.         Prior to sentencing, the

government filed objections to the presentence report in which they

included materials from the United States Marshals Service. (DE 206).

Specifically, the government referenced a March 10, 2005 letter from Mr.

Curtin to a district judge in the Eastern District of Louisiana, an April

22, 2005 letter from Mr. Curtin to two district judges in the Southern



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District of Florida, and a December 18, 2007 letter from Mr. Curtin to

one of those district judges in the Southern District of Florida. Id. Those

letters, written fourteen to seventeen years prior to Mr. Curtin’s

sentencing hearing, were investigated by the United States Marshals

Service for a threat assessment and none were deemed sufficient to even

start a criminal investigation against Mr. Curtin.

     Yet, at sentencing, the district court made clear that its decision to

vary upward from an advisory sentencing range of 27 to 33 months was

based almost exclusively on these letters written more than a decade

earlier. Specifically, the district court concluded as follows:

     The Court has heard from the defendant and from defense,
     and the parties made statements in their behalf or waived the
     opportunity to present any further evidence. And pursuant to
     Titl1 18 United States Code 3551 and 3553, it’s the judgment
     of the Court that Mr. Curtin is committed to the Bureau of
     Prisons fo ran upward variance of 60 months. The reason why
     is a pattern. When I get letters that we’re going to send a
     microwave machine or ask permission to blow the brains of
     out of Chief Judge King ad that we want sweat, perspiration
     to poor [sic] fro Judge Croom’s armpit, I don’t know why it is
     that we keep sending letters to judges. We have an ongoing,
     disturbing conversation in writing with Judge Bert Jordan –
     Adalberto Jordan. I’m so bad at that. This is a pattern, and
     the pattern escalated and it escalated, and I wasn’t really
     impressed with this tincture, if that’s the word, this piece of
     reference to race in this threat. You know, this is an older
     white gentleman threatening a young African-American
     female. And I guess there are some reason to comment on


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     race, but from the victim’s point of view, there’s a little bit of
     a history in Florida, and that little reference was gratuitous
     and added to what was a clear threat. So the upper variance
     is because of the pattern, the need to respect the law, which
     is grossly disrespected, and the need for public safety. And
     he says, well, he hasn’t hurt anybody. Well, yes, these threats
     are hurtful. Someone gets a letter where someone is
     suggesting we are going to blow their brains out or I’m going
     to threaten Magistrate Judge Smith in Orlando with bodily
     injury and death, they’re very hurtful. Thank God it hasn’t
     escalated further. So it’s public safety and the repeated
     pattern that I see over a course of many years, almost to the
     point where marshals beat the path out there to do a threat
     assessment every time one of these letters comes.

(DE 237:46-47).

     Here, the district court committed a clear error in judgment when

it weighed the § 3553(a) factors unreasonably, arriving at a sentence that

does not “achieve the purposes of sentencing as stated in § 3553(a).” See

Irey, 612 F.3d at 1189. As such, this Court must vacate the judgment

and remand the case for resentencing.




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                            CONCLUSION

     Based on the foregoing, this Court must vacate the judgment of the

district court and remand the matter to the district court.



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      I CERTIFY that this brief complies with the type-volume limitation

and typeface requirements of Fed. R. App. P. 32(a)(7)(B), because it

contains 12,036 words, excluding the parts of the brief exempted by Fed.

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                                         /s/ Bernardo Lopez
                                         Bernardo Lopez
                                         Assistant Federal Public Defender




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                   CERTIFICATE OF SERVICE

     I HEREBY certify that on this 15th day of July, 2022, I

electronically filed the foregoing document with the Clerk of the Court

using CM/ECF and sent four copies to the Clerk of the Court via third

party commercial carrier for delivery within three days. I also certify

that the foregoing document is being served this day via CM/ECF on Lisa

Tobin Rubio, Assistant United States Attorney, 99 N.E. 4th Street,

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     For counsel of record who have not registered for CM/ECF and pro

se parties, the foregoing document has been served by U.S. Mail.



                                       s/ Bernardo Lopez
                                       Bernardo Lopez
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